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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
__________________________________

RICA GATORE, et al.,
               Plaintiffs,

                      v.                             Civil Action No. 15-cv-459 (RBW)

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY
                  Defendant,
__________________________________

     PLAINTIFFS’ MOTION FOR LEAVE TO ADD A PLAINTIFF TO THE
      COMPLAINT, TO AMEND THE COMPLAINT, AND TO FILE THAT
                      AMENDED COMPLAINT

       Plaintiffs respectfully move for leave to add a plaintiff to the complaint, to amend

the complaint very slightly, and to file the amended complaint. A copy of the proposed

amended complaint is attached hereto.

       Plaintiffs desire to add Ms. Veronica Lemus-Miranda as a plaintiff, and to include

her in a new “Tenth Cause of Action.” She is an asylum applicant who recently requested

the segregable portion of her assessment, and whose administrative appeal was recently

denied. She is very similar to the other named plaintiffs. Civil Rules 15(a) and 21 allow

a Court to grant leave to file an amended complaint where the filing would not prejudice

the defendant. Boyd v. District of Columbia, 465 F. Supp.2d 1 (D.D.C. 2006). This filing

will not prejudice the DHS.

       Plaintiffs would also like to amend the complaint at ¶ 49, concerning the named

plaintiff Ms. Ouedraogo.   She is not a citizen of Cote D’Ivoire. Plaintiffs would like to



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amend ¶ 49 of the complaint by deleting the words “and citizen of.” As amended, it

would read simply that she is a native of Cote D’Ivoire.

       Plaintiffs asked counsel for DHS, Carl Ross and also Alexander Haas, to consent;

but counsel has declined to do so.   A proposed Order is attached hereto.

               Dated: January 23, 2017        Respectfully submitted,


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